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 7
     Attomeys forthe Unied States ofAmenca
 8


 9                             IN THE UNITED STATES DISTRICT COURT
10
                                       FOR THE T□ 問uToRY    OF GUAM
11
      ELARIA M. TAITAGUE,                               CIVIL CASE N0 14‐ 00007
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                               Plaintiff,
13
                     vs.
                                                        STIPllLAT10N FOR VOLllNTARY
14
      DEPARTMENT OF THE AIR FORCE,                      DISMISSAL
15    I'NITED STATES OF AMERICA, JOHN
      DOE INSURANCE CARRIER; and DOES              l-
16    10,
                           Dcfendants.
17
            COME NOW,血 parties,by           and through heir undesigned counsels,and hereby move
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     thc Courtto dismiss」 日s casc pursuantto Rulc 41(o(1)(A)(ii)。 fthe Federal Rules ofCivil
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 l   PЮ cedurc The tems set fon in the settlement agreement(ECF No 14‐ 1)haVe been satis■ ed

 2   Each pany shall bearits own costs and fees,including attomeys'fees

 3
            SO SIIPULATED:
 4
                                                 ALICIA A G LIMIIACO
 5                                               UnM States Attomey

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                                                               S(】 ]即
 8
                                                                 CRUZ
 9
                                                 Attoraeys   for rte   U   ud Sates of America
10

11                                               LAW OFFICES OF MARK WILLIAMS, P.C.

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     嘘♯                                          WARK E      Ⅵ   LLIAMS,ESQ
14                                              Aaorneylor Plaintif Eloia M. Taingw

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